Case 1:09-cv-00322-CI\/| Document 59 Filed 05/03/10 Page 1 of 2

UNlTED STATES DISTRICT COURT
SOUTHERN DIS'FRICT OF NEW YORK

?ELTON & ASSOCIATES, P.C.
ATY'ORNEYS FOR PLAHVHFFS
ll Broadway, Suite 901

New York, N'Y lOOOtS

(212) 385“~9700

A'I'I`ORNEYS O¥" RECORD:
BREN'I` PELTON (BP-lOS$)

.................................................................. 7‘ !_IA;_E.C.E
RODNEY MALLOY, Individually and on behalf '
Of` all other Similarly Situated Employees

Plainn`ff‘s,

'against~ 09 cv 00322 (cM)

RICHARD FLEISCHMAN &. ASSOCIATES
INC., RICHARD FLEISCHMAN, and JOHN
DOES #1 -i O, Jointly and Severaliy

Defendants.

 

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NOTICE OF .¥OlNT MOTION FOR PRELIM!NARY APPROVAI_, OF
SETTLEMENT AGREEMENT

PLEASE TAKE NOTICE that, upon the annexed affidavit of Brent E. Pelton,
Esq., sworn to Decernber 30, 2009, the exhibits annexed thereto, the accompanying joint
memorandum of law in support of the parties' joint motion for preliminary approval of the
settlement agreement, and all the pleadings and proceedings heretofore had herein, the
undersigned will move this Court, before the Hon. Colleen McMahon, United States District
Judge, in Coumoem 140 of the United States District Courthouse, 500 Pearl Street, New York,

New York 10007-1581, on a date designated by the Court, for an order (i) preliminarin

Case 1:09-cv-00322-CI\/| Document 59 Filed 05/03/10 Page 2 of 2

approving the Sottiemem reached by the parties itt thi§ action as embodied in their Sottlerr§ent
Agx'eement (§§_o Exliil)§r A to Polton Deciztration); (ii) approving the proposed Settloment Notice
(§_g§ E)<hibit }3 to Pelton Dec%a:';ttion); (iii) instructing the parties to appear before this Court l`oz is
thimess limiting on WW at the U:ziteci States `I)istrict Cour£, Sou`thern Distlt'icl' of Ne'w Voi‘k,
500 Pc:mi Streei, New Yoc‘k, New Yo'rk; and (iv) for mich other and further relief as tide Court

may deem just and proper,

DATED: if)eoem‘oet' 30, 2009
New Yoric, l\iew York

PHLTON & ASSOCIA'I ES P C.
A TY'ORNE Y-‘S` FOR PLA!NTH`FS
iii Erottd\\~' ay, Suii:e 901

New York, NY` 10006

(212) 385»9?00

By= <f:'§/K-

Brent. Peiton (lBP-ZOSS`)

_iACKSON LEEWIS LLP

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58 South Service `Roaci, Suite 410
Melvillo, New Yori< l l747
{631) 247-0404

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